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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

October 2017 Grand Jury

UNITED sTATEs oF AMERICA, ca NO.GR 18 00053:"/§@

 

HMMHR ;§QLQIM§HI
v. [18 U.S.C. §§ 2251(0), (e):
Production of Child Pornography;
EZEQUIEL CHRISTOPHER BARRAGAN, 18 U.S.C. § 2423(b): Travel with
Intent to Engage in Illicit Sexual

§ 2423(0): Engaging in Illicit
Sexual Conduct with a Minor in
Foreign Places]

 

” Defendant. Conduct with a Minor; 18 U.S.C.

 

The Grand Jury charges:

COUNT ONE

[18 U.S.C. §§ 2251(0), (e)]

Between on'or about August 6, 2009, and on or about August 17,
“2009, defendant EZEQUIEL cHRISToPHER BARRAGAN (“BARRAGAN") knowingly
employed, used, persuaded, induced, enticed, and coerced a minor,
namely, C.T., who at that time was approximately 16 years old, to
engage in sexually explicit conduct, as that term is defined in Title
18, United States Code, Section 2256(2)(A), outside of the United

States, its territories, or possessions, namely, in China, for the

purpose of producing a visual depiction of such conduct, and

 

 

 

 

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defendant BARRAGAN intended such visual depiction to be transported

Jto the United States, and did transport such visual depiction to the

United States, namely, to the Central District of California.

 

 

 

 

 

 

 

 

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COUNT TWO
[18 U.S.C. § 2423(b)]

Between on or about July 7, 2009, and on or about August 17,
2009, defendant EZEQUIEL CHRISTOPHER BARRAGAN, a citizen of the
United States, knowingly traveled in foreign commerce, from Los
Angeles County, within the Central District of California, to China,
for the purpose of engaging in illicit sexual conduct, as defined in
Title 18, United States Code, Section 2423(£), with a minor, namely,
to engage in commercial sex acts with C.T., who at that time was
approximately 16 years old, and to engage in the production of child

pornography.

 

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COUNT THREE
[18 U.S.C. § 2423(0)]

Between on or about July 7, 2009, and on or about nugust 17,
2009, defendant EZEQUIEL CHRISTOPHER BARRAGAN {“BARRAGAN”), a Citizen
of the United States, knowingly traveled in foreign commerce, from
Los Angeles County, within the Central District of California, to
China, and engaged in illicit sexual conduct, as defined in Title 18,
United States Code, Section 2423(£), with a minor, in that defendant
BARRAGAN engaged in commercial sex acts with C.T., who at that time
was approximately 16 years old, and engaged in the production of

child pornography.

A TRUE BILL

/5/

Foreperson

 

NICOLA T. HANNA
United S tes Attorney
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LAWRENCE S. MIDDLETON

Assistant United States Attorney
Chief, Criminal Division

JUSTIN R. RHOADES

Assistant United States Attorney
Chief, Violent and Organized
Crime Section

VANESSA BAEHR-JONES

Assistant United States Attorney
Violent and Organized Crime
Section

 

 

 

 

